Case 2:10-md-02179-CJB-DPC Document 15835-5 Filed 02/08/16 Page 1 of 4




                       Exhibit 5
                 TO UNITED STATES’ BILL OF COSTS
                                                                                                                   Exhibit 5
                                                                                                               Fees for Witnesses

                                                                                                                                                                                        Hotel Total
                                                                                                                              Per Diem
       Fees for Witnesses                                                      Days of                                                                         Car Rental, Taxi, Equals daily rate x 1 for 40 (if 1 day) or
                              2 or 3   Depo/Trial      Testimony Dates                    Flight Cost   Per Diem Travel 71 (if 1 day) or 142 Per Diem Travel                                                                   Sum        Page(s)
    (Last Name, First Name)                                                   Testimony                                                                          or Mileage      1 day testimony; x 2 for 80 (if 2 days)
                                                                                                                             (if 2 days)
                                                                                                                                                                                     2 day testimony
Austin, Diane                   3      Depo                     10/16/2014        1       $    522.20 $          53.25 $            71.00 $            53.25 $            18.22 $                 127.08 $           40.00 $    885.00      1‐8

Austin, Diane                   3      Trial                     1/20/2015        1       $    363.20 $          53.25 $            71.00 $            53.25 $            38.00 $                 113.34 $           40.00 $    732.04     9‐15

Austin, Meredith                3      Depo                      7/17/2014        1                     $        53.25 $            71.00 $            53.25                                               $         40.00 $    217.50

Austin, Meredith                3      Trial                     1/20/2015        1                     $        53.25 $            71.00 $            53.25                                               $         40.00 $    217.50

Barron, Mace                    3      Depo                      6/24/2014        1                     $        53.25 $            71.00 $            53.25                      $               165.20 $           40.00 $    382.70     16‐17

Benge, Glen                     2      Depo                      8/1‐8/2/13       2       $    389.30 $          53.25 $            142.00 $           53.25 $          126.73 $                  225.74 $           80.00 $   1,070.27    18‐22

Boesch, Donald                  3      Depo                     10/28/2014        1       $    581.20 $          53.25 $            71.00 $            53.25 $          107.20 $                  177.98 $           40.00 $   1,083.88    27‐31

Boesch, Donald                  3      Trial                     1/21/2015        1                     $        53.25 $            71.00 $            53.25 $          121.16 $                  177.72 $           40.00 $    516.38     23‐26

Bushnell, Nathan                2      Depo                   7/18‐7/19/13        2       $    481.60 $          53.25 $            142.00 $           53.25 $          218.25 $                  230.26 $           80.00 $   1,258.61    32‐80

Clapp, Richard                  3      Depo                     10/31/2014        1                     $        53.25 $            71.00 $            53.25 $          120.00 $                  162.65 $           40.00 $    500.15     91‐93

Clapp, Richard                  3      Trial                     1/20/2015        1       $    403.20 $          53.25 $            71.00 $            53.25 $            81.50 $                 176.27 $           40.00 $    878.47     81‐90

Conmy, Robin                    3      Depo                      6/26/2014        1                     $        53.25 $            71.00 $            53.25 $            66.00 $                 176.27 $           40.00 $    459.77     94‐97

Davis, Rory                     2      Depo                   7/12‐7/13/13        2       $    549.80 $          53.25 $            142.00 $           53.25 $          126.66 $                  305.00 $           80.00 $   1,309.96   98‐107

Dewers, Tom                     2      Depo                       8/2/2013        1                     $        53.25 $            71.00 $            53.25                                               $         40.00 $    217.50

Dykhuizen, Ronald               2      Trial                     10/7/2013        1       $    422.60 $          53.25 $            71.00 $            53.25 $            49.12 $                 180.67 $           40.00 $    869.89    114‐119

Dykhuizen, Ronald               2      Depo           1/30/2013 ‐ 1/31/2013       2       $    251.60 $          53.25 $            142.00 $           53.25 $            83.12 $                 357.49 $           80.00 $   1,020.71   112‐113

Dykhuizen, Ronald ‐ Expert      2      Depo           6/19/2013 ‐ 6/20/2013       2       $    561.10 $          53.25 $            142.00 $           53.25 $            48.12 $                 307.10 $           80.00 $   1,244.82   108‐111

Graettinger, George             2      Depo                       2/6/2013        1       $    516.10 $          53.25 $            71.00 $            53.25 $          192.00 $                  209.54 $           40.00 $   1,135.14   120‐135

Griffiths, Stewart              2      Depo                  6/26 ‐ 6/27/13       2       $    645.60 $          53.25 $            142.00 $           53.25 $            66.00 $                 308.32 $           80.00 $   1,348.42   145‐154

Griffiths, Stewart              2      Depo                11/13 ‐ 11/14/12       2       $    609.20 $          53.25 $            142.00 $           53.25 $            37.00 $                 309.10 $           80.00 $   1,283.80   136‐144

Griffiths, Stewart              2      Trial                     10/8/2013        1       $    774.60 $          53.25 $            71.00 $            53.25 $            53.00 $                 153.55 $           40.00 $   1,198.65   155‐162

Guthrie, George                 2      Depo         11/15/2012 ‐ 11/16/2012       2                     $        53.25 $            142.00 $           53.25                                               $         80.00 $    328.50
                                                                                                                                                                                                                                                    Case 2:10-md-02179-CJB-DPC Document 15835-5 Filed 02/08/16 Page 2 of 4




Havstad, Mark                   2      Depo           1/30/2013 ‐ 1/31/2013       2                     $        53.25 $            142.00 $           53.25                                               $         80.00 $    328.50

Hewett, Larry                   3      Depo                      6/19/2014        1       $    444.00 $          53.25 $            71.00 $            53.25 $            80.00 $                 174.27 $           40.00 $    915.77    163‐165




                                                                                                                   Page 1 of 3
                                                                                                                    Exhibit 5
                                                                                                                Fees for Witnesses

                                                                                                                                                                                         Hotel Total
                                                                                                                               Per Diem
        Fees for Witnesses                                                      Days of                                                                         Car Rental, Taxi, Equals daily rate x 1 for 40 (if 1 day) or
                               2 or 3   Depo/Trial      Testimony Dates                    Flight Cost   Per Diem Travel 71 (if 1 day) or 142 Per Diem Travel                                                                   Sum        Page(s)
     (Last Name, First Name)                                                   Testimony                                                                          or Mileage      1 day testimony; x 2 for 80 (if 2 days)
                                                                                                                              (if 2 days)
                                                                                                                                                                                      2 day testimony
Howard, John                     3      Depo                      6/26/2014        1       $    683.94 $          53.25 $            71.00 $            53.25 $          192.00 $                  167.21 $           40.00 $   1,260.65   166‐177

Hsieh, Paul                      2      Depo                   9/11‐9/12/12        2       $    784.70 $          53.25 $            142.00 $           53.25 $            76.00 $                 202.00 $           80.00 $   1,391.20   178‐184

Hsieh, Paul                      2      Trial                     10/8/2013        1       $    416.45 $          53.25 $            71.00 $            53.25                      $               137.00 $           40.00 $    770.95    185‐196

Huffman, Alan                    2      Depo                  7/17 ‐ 7/18/13       2                     $        53.25 $            142.00 $           53.25                                               $         80.00 $    328.50

Huffman, Alan                    2      Trial                    10/18/2013        1                     $        53.25 $            71.00 $            53.25                                               $         40.00 $    217.50

Hunter, Tom                      2      Depo                      7/12/2013        1                     $        53.25 $            71.00 $            53.25                                               $         40.00 $    217.50

Hunter, Tom                      2      Depo                    10/30‐10/31        2                     $        53.25 $            142.00 $           53.25                                               $         80.00 $    328.50

Hunter, Tom                      2      Trial                     10/7/2013        1                     $        53.25 $            71.00 $            53.25                                               $         40.00 $    217.50

Kelkar, Mohan                    2      Depo                   7/17‐7/18/13        2                     $        53.25 $            142.00 $           53.25 $            73.00 $                 234.26 $           80.00 $    635.76    197‐203

Kelkar, Mohan                    2      Trial                     10/9/2013        1       $    582.60 $          53.25 $            71.00 $            53.25 $            80.00 $                 154.55 $           40.00 $   1,034.65   204‐216

Kulesa, Frank                    3      Depo                      7/15/2014        1       $    444.00 $          53.25 $            71.00 $            53.25 $            29.73 $                 126.93 $           40.00 $    818.16    217‐219

Landry, Mary                     2      Depo                10/22 ‐ 10/23/12       2       $    859.60 $          53.25 $            142.00 $           53.25 $            65.85 $                 318.40 $           80.00 $   1,572.35   221‐222

Lang, James                      1      Depo                      1/11/2012        1       $    494.90 $          53.25 $            71.00 $            53.25 $            87.00 $                 154.55 $           40.00 $    953.95    223‐239

Larsen, Leif                     2      Depo                   7/25‐7/26/13        2       $   2,249.83 $         53.25 $            142.00 $           53.25 $            99.02 $                 222.00 $           80.00 $   2,899.35   240‐252

Larsen, Leif                     2      Trial                    10/18/2013        1       $   2,846.10 $         53.25 $            71.00 $            53.25 $            84.58 $                 226.00 $           40.00 $   3,374.18   253‐275

Lehr, William                    2      Depo                  1/17 ‐ 1/18/13       2                     $        53.25 $            142.00 $           53.25                                               $         80.00 $    328.50

Maclay, Don                      2      Depo          10/31/2012 ‐ 11/1/2012       2                     $        53.25 $            142.00 $           53.25                                               $         80.00 $    328.50

Martinez, John                   2      Depo                   7/30‐7/31/13        2       $    390.30 $          53.25 $            142.00 $           53.25 $          118.20 $                  230.26 $           80.00 $   1,067.26   291‐298

Mason, Charles                   3      Depo                     10/29/2014        1       $    898.70 $          53.25 $            71.00 $            53.25 $            73.00 $                 177.98 $           40.00 $   1,367.18   306‐315

Mason, Charles                   3      Trial                     1/22/2015        1       $    902.70 $          53.25 $            71.00 $            53.25 $            70.00 $                 173.43 $           40.00 $   1,363.63   299‐305

McCleary, Stephen                3      Depo                      7/18/2014        1       $    534.00 $          53.25 $            71.00 $            53.25 $            38.00 $                 126.93 $           40.00 $    916.43    315‐318

McNulty, Sara                    3      Depo                       7/1/2014        1       $    439.19 $          53.25 $            71.00 $            53.25 $          122.68 $                  111.90 $           40.00 $    891.27    319‐333
                                                                                                                                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 15835-5 Filed 02/08/16 Page 3 of 4




McNutt, Marcia                   2      Depo         10/24/2012 ‐ 10/25/2012       2                     $        53.25 $            142.00 $           53.25                                               $         80.00 $    328.50

Michel, Jacqueline               3      Depo                      8/12/2014        1       $    700.00 $          53.25 $            71.00 $            53.25 $            76.75                            $         40.00 $    994.25    581‐589




                                                                                                                    Page 2 of 3
                                                                                                                 Exhibit 5
                                                                                                             Fees for Witnesses

                                                                                                                                                                                      Hotel Total
                                                                                                                            Per Diem
       Fees for Witnesses                                                    Days of                                                                         Car Rental, Taxi, Equals daily rate x 1 for 40 (if 1 day) or
                              2 or 3   Depo/Trial    Testimony Dates                    Flight Cost   Per Diem Travel 71 (if 1 day) or 142 Per Diem Travel                                                                     Sum        Page(s)
    (Last Name, First Name)                                                 Testimony                                                                          or Mileage      1 day testimony; x 2 for 80 (if 2 days)
                                                                                                                           (if 2 days)
                                                                                                                                                                                   2 day testimony
Miller, Mark                    2      Depo                    10/1/2012        1       $    470.06 $          53.25 $            71.00 $            53.25 $            85.76 $                 153.55 $           40.00 $       926.87   334‐348

Miller, Mark                    3      Depo                    7/10/2014        1       $    455.19 $          53.25 $            71.00 $            53.25 $            66.00 $                 127.08 $           40.00 $       865.77   349‐374

Pooladi‐Darvish, Mehran         2      Depo                   7/3‐7/4/13        2       $    939.02 $          53.25 $            142.00 $           53.25 $            40.00 $                 372.64 $           80.00 $     1,680.16   383‐395

Pooladi‐Darvish, Mehran         2      Trial                  10/10/2013        1       $    233.93 $          53.25 $            71.00 $            53.25                      $               261.90 $           40.00 $       713.33   375‐382

Possolo, Antonio                2      Depo                9/26 ‐ 9/27/13       2       $    607.03 $          53.25 $            142.00 $           53.25                                               $         80.00 $       935.53   396‐397

Ratzel, Arthur                  2      Depo               10/17‐10/18/12        2       $    547.70 $          53.25 $            142.00 $           53.25 $            88.22 $                 307.10 $           80.00 $     1,271.52   590‐592

Ratner, Ian                     3      Depo               10/21‐10/22/14        2       $    467.20 $          53.25 $            142.00 $           53.25 $            80.00 $                 355.44 $           80.00 $     1,231.14   398‐418

Ratner, Ian                     3      Trial                   1/23/2015        1       $    602.20 $          53.25 $            71.00 $            53.25 $          134.00 $                  286.73 $           40.00 $     1,240.43   419‐460

Rice, Stanley                   3      Depo                   10/30/2014        1       $   1,632.60 $         53.25 $            71.00 $            53.25 $            80.00 $                 177.04 $           40.00 $     2,107.14   461‐487

Rice, Stanley                   3      Trial                   1/21/2015        1       $    461.20 $          53.25 $            71.00 $            53.25 $            71.00 $                 154.64 $           40.00 $       904.34   461‐487

Roegiers, Jean‐Claude           2      Depo                 7/24‐7/25/13        2       $    431.60 $          53.25 $            142.00 $           53.25                      $               202.00 $           80.00 $       962.10   502‐505

Roegiers, Jean‐Claude           2      Trial                  10/18/2013        1       $    431.60 $          53.25 $            71.00 $            53.25 $          170.00 $                  141.00 $           40.00 $       960.10   489‐501

Sogge, Mark                     2      Depo         9/18/2012 ‐ 9/19/2012       2                     $        53.25 $            142.00 $           53.25                                               $         80.00 $       328.50

VanHaverbeke, Mark              3      Depo                   10/31/2014        1       $    329.20 $          53.25 $            71.00 $            53.25 $            58.00 $                 177.72 $           40.00 $       782.42   506‐508

VanHaverbeke, Mark              3      Trial                   1/21/2015        1                     $        53.25 $            71.00 $            53.25                                               $         40.00 $       217.50

Walkup, Gardner                 3      Depo                   10/10/2014        1       $    625.20 $          53.25 $            71.00 $            53.25 $            74.74 $                 176.27 $           40.00 $     1,093.71   509‐529

Walkup, Gardner                 3      Trial                   1/22/2015        1       $    696.20 $          53.25 $            71.00 $            53.25                                               $         40.00 $       913.70   530‐537

Zick, Aaron                     2      Depo                6/28 ‐ 6/29/13       2       $    766.10 $          53.25 $            142.00 $           53.25 $          154.69 $                  283.46 $           80.00 $     1,532.75   538‐580

Zick, Aaron                     2      Trial               10/8 ‐ 10/9/13       2       $    365.80 $          53.25 $            142.00 $           53.25 $          155.56 $                  318.40 $           80.00 $     1,168.26   538‐580

TOTAL                                                                                                                                                                                                                       $ 62,845.42
                                                                                                                                                                                                                                                    Case 2:10-md-02179-CJB-DPC Document 15835-5 Filed 02/08/16 Page 4 of 4




                                                                                                                 Page 3 of 3
